                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                    )
                                             )
                       Plaintiff,            )
                                             )
                v.                           )         21-CR-356-CVE
                                             )
William Colby Cox and Laura Kay              )
Sawyer
                                             )
                      Defendant.             )



                              DECLARATION OF PUBLICATION

       In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules

of Criminal Procedure, notice of the forfeiture was posted on an official government internet

site (www.forfeiture.gov) for at least 30 consecutive days, beginning on June 04, 2022

and ending on July 03, 2022. (See, Attachment 1).


      I declare under penalty of perjury that the foregoing is true and correct. Executed on

July 05, 2022 at Tulsa, OK.


                                          /s/ Janna Tomah
                                          Janna Tomah
                                          Data Analyst




                                                                           Exhibit "A"
